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                                                                                   Fi LED
                                                                           US DISTRICT COURT
                                                                         DISTA,CT OF NEBRASKA
                         IN THE UNITED STATES DISTRICT COUR1                   SEP 2 4 2021
                             FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                                                OFFICE OF THE CLERK

                       Plaintiff,
                                                                     8:21CR   Zl./f.o
       vs.
                                                                 INDICTMENT
                                                             18 U.S.C. § 2261A(2)(B)
OLIVER J. GLASS ,

                       Defendant.


       The Grand Jury charges that

At all times material to this Indictment:

    1. On or about March 28, 2009, defendant, Oliver J. Glass, married Victim 1.

   2. Defendant, Oliver J. Glass, was appointed as the County Attorney for Dodge County,

       Nebraska in 2011. Defendant, Oliver J. Glass, was elected County Attorney for Dodge

       County, Nebraska in 2014 and was reelected in 2018.

   3. On November 16, 2018, Victim 1 filed a Complaint for Legal Separation from defendant,

       Oliver J. Glass, in the District Court of Dodge County, Nebraska in case number CI 18-

       586.

   4. In October 2019, Victim 1 met Victim 2. Victim 1 and Victim 2 began dating m

       approximately December 2019.

   5. On January 3, 2020, Victim 1 filed an Amended Complaint for Dissolution of Marriage in

       the District Court of Dodge County, Nebraska.

   6. On or about March 6, 2020, defendant, Oliver J. Glass, learned that Victim 1 was in a

       romantic relationship with Victim 2.




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7. In March 2021 , defendant, Oliver J. Glass, resigned from his position as the Dodge County

   Attorney.

                                COURSE OF CONDUCT

8. Beginning on March 6, 2020, continuing through on or about December 22, 2020,

   defendant, Oliver J. Glass, used facilities of interstate commerce to engage in a course of

   conduct meant to harass and intimidate and to place under surveillance with the intent to

   harass and intimidate Victim 1 and Victim 2.

                             Law Enforcement Database Use

9. The Nebraska Criminal Justice Information System (NCJIS) is an Internet-based, law

   enforcement database that Nebraska criminal justice professionals can utilize in their

   official capacities to search for and view criminal justice and personal information of

   individuals who reside in, are employed in, or have criminal histories in the state of

   Nebraska. NCJIS is limited to official law enforcement purposes, pursuant to the rules and

   regulations of the state of Nebraska and the Nebraska Crime Commission.

10. Defendant, Oliver J. Glass, had access to NCJIS pursuant to his position as the Dodge

   County Attorney. Additionally, the individual staff of the Dodge County Attorney ' s Office

   also had NCJIS access. Between January 1, 2020, through March 5, 2020, defendant,

   Oliver J. Glass, did not successfully access NCJIS.

11 . Beginning on March 6, 2020, through on or about December 22, 2020, defendant, Oliver

   J. Glass, and two other employees of the Dodge County Attorney ' s Office acting at

   defendant, Oliver J. Glass ' s, direction, used their official credentials to access the NCJIS

   database and view information related to Victim 2, including vehicle registration data and

   other personal information. This was done on approximately 16 different occasions.



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                              Threatening Communications

12. On or about March 11 , 2020, and continuing through on or about March 12, 2020,

   defendant, Oliver J. Glass, transmitted multiple Facebook and iMessage communications

   to Victim 2, which contained intimidating and threatening language that caused substantial

   emotional distress to Victim 2. In these messages, defendant, Oliver J. Glass, referred to

   Victim 2 as "fl'***t," "p***y," "stupid b***h," and "slightly retarted [sic]."

13. In these communications, defendant, Oliver J. Glass, made specific references to knowing

   the location of Victim 2' s apartment and the model of Victim 2' s vehicle. This information

   concerning Victim 2' s apartment and vehicle was consistent with content defendant, Oliver

   J. Glass, had previously accessed on NCJIS. Specifically, between March 11 , 2020 and

   March 12, 2020, defendant, Oliver J. Glass, sent messages to Victim 2 stating:

       a. "I love 'yo' reminds me of Jesse from breaking bad, great movie, especially when

          Jesse blows Walts head off, because he ' s just had enough of the game. Such a silky

          game .... "

       b. "Oh hey buddy, one last rhing [sic], I've taken [Victim 1] all over the world in our

          marriage, but I run heavy bud, news for you, yo. "

       c. "We could meet up, Subway? Let me know bro, I could walk there from work, and

          you could walk there from your dilapidated white trash apartment."

       d. "I hope it doesn't rain. Just watched [sic] my truck. I know you don't want you [sic]

          Monte Carlo to get spoiled."

14. As a result, of these communications sent by defendant, Oliver J. Glass, Victim 2

   experienced a great deal of emotional distress, which resulted in his hospitalization

   beginning on March 12, 2020.



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15. Defendant, Oliver J. Glass, made comments to law enforcement officers about killing

   Victim 1 and Victim 2. Specifically, on May 27, 2020, defendant, Oliver J. Glass, sent text

   messages to a female law enforcement officer with the Nebraska State Patrol, "God help

   me I may fl'*king kill this guy," and "I am so mad right now I could kill them both."

   Multiple law enforcement officers reported that they believed defendant, Oliver J. Glass,

   may harm Victim 1 and Victim 2.

                                  Physical Surveillance

16. Defendant, Oliver J. Glass, used the information that he and two of his employees had

   obtained from NCJIS to surveil Victim 1 and Victim 2 by driving by Victim 2' s residence.

   Defendant, Oliver J. Glass, took photographs of Victim 1' s vehicle at Victim 2' s residence.

   These photos were then transmitted to and stored on defendant, Oliver J. Glass's, Apple

   iCloud account.

17. Defendant, Oliver J. Glass, sent text messages to others documenting the physical

   surveillance that defendant, Oliver J. Glass, was conducting regarding Victim 1 and Victim

   2. Specifically, defendant, Oliver J. Glass sent the following:

      a. On March 9, 2020, defendant, Oliver J. Glass sent a text message to an employee

          of the Dodge County Attorney ' s Office stating, "Just drove by military on way

          home. [Victim 1] got off work at 3:00. [Victim 1] over at [Victim 2's] house

          already. Doesn't give two sh**s about seeing the kids. "

      b. On May 28, 2020, defendant, Oliver J. Glass sent a text message stating, "Heading

          home. [Victim 2's] white car is parked at his sh**hole apt. "




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       c. On June 2, 2020, defendant, Oliver J. Glass sent a text message stating, "Guess

           what! [Victim 1's] van is at Bakers. [Victim 2's] car is at [Victim 1 's] apt. Yep.

           They are still together. He spent the night there last night and he is still there!"

       d. On June 3, 2020, defendant, Oliver J. Glass, sent a text message stating, "Drove by

           [Victim 2's] apartment On the way out to mom and dad's.Of course [Victim 1 's]

           van is there. The van I paid for."

       e. On June 4, 2020, defendant, Oliver J. Glass, had a text message exchange stating:

                   Defendant: [Victim 1] usually works at 7 am. Must not be working today.
                          [Victim 1's] van is still at [Victim 2's].
                   Individual: What is [Victim 2' s address]
                   Defendant: [Victim )...'s address]. Old crummy house broke down into apts"
                                        Q.

      f.   On June 4, 2020, defendant, Oliver J. Glass, sent a text message stating, "[Victim

           1 's] van has been at [Victim 2's] apt all day."

      g. On June 22, 2020, defendant, Oliver J. Glass, sent the fo llowing text message to a

           law enforcement officer with the Nebraska State Patrol stating " [Victim 2] is back.

           His car is at his apt."

18 . In March to April 2020, defendant, Oliver J. Glass, asked an employee of the Dodge

   County Attorney's Office via telephone to drive by Victim 1 and Victim 2's residences.

   Defendant, Oliver J. Glass, told the employee where Victim 2 lived.

19. On July 27 through July 31, 2020, August 24 through August 28, 2020, and September 15

   through September 18, 2020, defendant, Oliver J. Glass, took inefficient or indirect paths

   of travel in order to drive past Victim 2's residence. Defendant, Oliver J. Glass, would slow

   down while Victim 2's residence was in view.




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                            Attempts to Influence Law Enforcement

20. Defendant, Oliver J. Glass, attempted to improperly influence or use members of law

   enforcement to harass and intimidate and to place under surveillance with the intent to

   harass and intimidate Victim 1 and Victim 2.

21. On April 4, 2020, defendant, Oliver J. Glass, sent a text message to family members stating,

   "You guys were right. [Victim 1] wanted to get rid of the kids all weekend so she could

   spend the weekend with her boyfriend. My cops just told me that my van is at his place

   right now. She is such pathetic white trash. " Defendant, Oliver J. Glass, had received a

   phone call from a law enforcement officer with Fremont Police Department approximately

   10 minutes prior to sending this text message.

22. In a phone conversation with a law enforcement officer employed in a supervisory position

   by the Dodge County Sheriffs Office, defendant, Oliver J. Glass, made statements that if

   the officer could arrest Victim 1 or Victim 2 that it would be of benefit to defendant, Oliver

   J. Glass. Defendant, Oliver J. Glass also told the officer that the officer should watch for

   Victim 2 because Victim 2 drinks during the day. Defendant, Oliver J. Glass, told the

   officer that if Victim 1 or Victim 2 could be arrested for a DUI that it would benefit,

   defendant, Oliver J. Glass. Defendant, Oliver J. Glass, told the law enforcement officer that

   he trusts the shift that the officer supervised and that the officer could share his request

   with the other officers on the shift.

23 . Defendant, Oliver J. Glass, made similar requests about arresting Victim 2 for driving

   under the influence to a law enforcement official who was employed by the Fremont Police

   Department in a supervisory position. As a result of defendant, Oliver J. Glass's, request,

   the officer disseminated information about Victim 2's vehicle to multiple officers at the



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   Fremont Police Department. Defendant, Oliver J. Glass 's, request also caused the law

   enforcement officer to look for Victim 2's vehicle.

24. In late spring to early summer 2020, defendant, Oliver J. Glass, made a request to a senior

   law enforcement official with the Fremont Police Department to have the local drug task

   force , comprised of the Fremont Police Depaiiment, Saunders County Sheriffs

   Department, and the Dodge County Sheriffs Department, initiate a narcotics investigation

   into Victim 2.

25. Defendant, Oliver J. Glass, asked law enforcement officers with the Hooper Police

   Department and the Dodge County Sheriffs Office to drive by Victim 1'sand Victim 2's

   respective residences. When one of the officers was not able to locate Victim 2, defendant,

   Oliver J. Glass, sent a text message stating, "His car in Fremont last couple of days at his

   apt." On June 26, 2020, defendant, Oliver J. Glass, sent the law enforcement officer with

   the Hooper Police Department a text message including license plate numbers and

   descriptions of vehicles of Victim 1 and Victim 2. Specifically, " [Victim 1 's license plate

   number] is 5X-XXXX on a dark blue 2010 Chrysler town and country minivan. [Victim

   2's license plate number] is 5X-XXXX on 03 Monte Carlo, white. I would like to know if

   [Victim 2] is at [Victim 1's] address .... " Defendant, Oliver J. Glass, then provided Victim

   1 's address to the law enforcement officer.

                         Use of Facilities of Interstate Commerce

26. Between on or about March 6, 2020, through on or about December 22, 2020, defendant,

   Oliver J. Glass, used facilities of interstate commerce to harass and intimidate and to place

   under surveillance with the intent to harass and intimidate Victim 1 and Victim 2.

   Specifically:



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       a. Defendant, Oliver J. Glass, used the Internet to access NCJIS to obtain vehicle

           information, address information, and personal information of Victim 2;

       b. Defendant, Oliver J. Glass, used the Internet to send Facebook Messages to Victim



       c. Defendant, Oliver J. Glass, used his cellular phone to make calls or send text

           messages to Victim 2;

       d. Defendant, Oliver J. Glass, used his cellular phone to make calls and send text

           messages to members of law enforcement about Victim 1 and Victim 2.

                                        COUNT!

27. Paragraphs 1 through 26 of the Indictment are incorporated by reference as if fully set

   forth herein.

28. Beginning on or about March 6, 2020, continuing through on or about December 22,

   2020, in the District of Nebraska, defendant, Oliver J. Glass, with the intent to intimidate

   and harass and place under surveillance with intent to intimidate and harass another

   person, to wit: Victim 1, used facilities of interstate commerce to engage in a course of

   conduct that caused, attempted to cause, and would be reasonably expected to cause

   substantial emotional distress to Victim 1.

           In violation of Title 18, United States Code, Section 2261A(2)(B)

                                        COUNT II

29. Paragraphs 1 through 26 of the Indictment are incorporated by reference as if fully set

   forth herein.

30. Beginning on or about March 6, 2020, continuing through on or about December 22,

   2020, in the District of Nebraska, defendant, Oliver J. Glass, with the intent to intimidate

   and harass and place under surveillance with intent to intimidate and harass another

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       person, to wit: Victim 2, used facilities of interstate commerce to engage in a course of

       conduct that caused, attempted to cause, and would be reasonably expected to cause

       substantial emotional distress to Victim 2.

              In violation of Title 18, United States Code, Section 2261A(2)(B)




                                                     A TRUE BILL. ,I



                                                     FOiBPf'RSON /

       The United States of America requests that trial of this case be held in Omaha, Nebraska,
pursuant to the rules of this Court.




                                                 Assistant United States Attorney




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